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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 IN RE PRESS APPLICATION FOR
 ACCESS TO JUDICIAL RECORDS
 ANCILLARY TO CERTAIN GRAND
 JURY PROCEEDINGS CONCERNING                       Misc. No. 23-65 (JEB)
 FORMER PRESIDENT TRUMP’S
 COMMUNICATIONS WITH HIS
 ATTORNEYS


                                         ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that the Press’s [1] Application for Access to Judicial Records is DENIED.

                                                        /s/ James E. Boasberg
                                                        JAMES E. BOASBERG
                                                        Chief Judge
Date: August 18, 2023




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